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                                        RETURN OF SERVICE
                                   UNITED STATES DISTRICT COURT
                                           District of Florida
   Case Number: 22CV14102-DMM
   Plaintiff: DONALD J. TRUMP, 45TH PRESIDENT OF THE UNITED
   STATES
   vs.
                                                                                                                 BII2022004367
   Defendant: HILLARY R. CLINTON, ET AL
   For: Peter Ticktin, Esq.
        The Ticktin Law Group
   Received by Burke Process Service on the 28th day of March, 2022 at 7:56 am to be served on ROBERT E.
   MOOK, 900 N. STUART STREET, APT 619, ARLINGTON, VA 22203. I, _____________    Sean           Gordon
                                                                                            _____________,
   do hereby affirm that on the ______
                                  5th  day of ___________,
                                                  April         22
                                                             20___   at ___:____.m.,
                                                                         3 20p       executed service by
   delivering a true copy of the Summons in a Civil Action, Complaint for Damages and Demand for Jury
   Trial and Civil Cover Sheet in accordance with state statutes in the manner marked below:
   (X ) INDIVIDUAL SERVICE: Served the within-named person.

   ( ) SUBSTITUTE SERVICE: By serving __________________________________________________ as
   ______________________________________________________who is over the age of 15.

   ( ) CORPORATE SERVICE: By serving __________________________________________________ as
   ______________________________________________________________________________.

   ( ) POSTED SERVICE: After attempting service on _____/_____ at ________ and on _____/_____ at
   ________ to a conspicuous place on the property described herein.

   ( ) NON SERVICE: For the reason detailed in the Comments below.

   MARITAL STATUS: ( ) YES (X ) NO ( ) REFUSED

   MILITARY STATUS: ( ) YES ( X) NO ( ) REFUSED
   COMMENTS:




   Age 40-50
       ____ Sex M F Race _________
                         Caucasian Height _______
                                            5'9"  Weight 170-200
                                                         _______ Hair __________
                                                                        Black    Glasses
   Y N
   Under penalties of perjury, I declare that I have read the foregoing Return of Service and the facts stated are
   true and correct. NO NOTARY REQUIRED PURSUANT TO F.S. 92.525 (2).



                                                                                                          N/A
                                                                             PROCESS SERVER # __________________
                                                                             Appointed in accordance with State Statutes

                                                                             Burke Process Service
                                                                             7200 W. Camino Real
                                                                             Suite 102
                                                                             Boca Raton, FL 33433
                                                                             (954) 514-0116

                                                                             Our Job Serial Number: 2022004367

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